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                             Exh. C

                       Proposed Order
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            IN THE UNITED STATES DISTRICT COURT
       NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

CORECO JA’QAN PEARSON, VIKKI TOWNSEND
CONSIGLIO, GLORIA KAY GODWIN, JAMES
KENNETH CARROLL, CAROLYN HALL                              CASE NO. 1:20-
FISHER, CATHLEEN ALSTON LATHAM and                         cv-4809
BRIAN JAY VAN GUNDY, JASON M. SHEPHERD
ON BEHALF OF THE COBB COUNTY
REPUBLICAN PARTY


Plaintiffs,

v.

BRIAN KEMP, in his official capacity as Governor of
Georgia, BRAD RAFFENSPERGER, in his official
capacity as Secretary of State and Chair of the
Georgia State Election Board, DAVID J. WORLEY,
in his official capacity as a member of the Georgia
State Election Board, REBECCA N.SULLIVAN, in
her official capacity as a member of the Georgia State
Election Board, MATTHEW MASHBURN, in his
official capacity as a member of the Georgia State
Election Board, and ANH LE, in her official capacity
as a member of the Georgia State Election Board,

Defendants.



        ORDER GRANTING EMERGENCY INJUNCTIVE RELIEF

      THE COURT has before it Plaintiffs’ Emergency Motion for Injunctive

Relief filed. November 27, 2020, seeking:
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1. An order directing Governor Kemp, Secretary Raffensperger and the

   Georgia State Board of Elections to de-certify the election results;

2. An order enjoining Governor Kemp from transmitting the currently

   certified election results to the Electoral College;

3. An order requiring Governor Kemp to transmit certified election results

   that state that President Donald Trump is the winner of the election;

4. An order that no votes received or tabulated by machines that were not

   certified as required by federal and state law be counted;

5. A declaratory judgment declaring that Georgia Secretary of State Rule

   183-1-14-0.9-.15 violates O.C.G.A. § 21-2-386(a)(2) and the Electors

   and Elections Clause, U.S. Const. Art. I, § 4;

6. A declaratory judgment that Georgia’s failed system of signature

   verification violates the Electors and Elections Clause by working a de

   facto abolition of the signature verification requirement;

7. A declaratory judgment declaring that current certified election results

   violate the Due Process Clause, U.S. Const. Amend. XIV;

8. A declaratory judgment declaring that mail-in and absentee ballot fraud

   must be remedied with a Full Manual Recount or statistically valid

   sampling that properly verifies the signatures on absentee ballot

   envelopes and that invalidates the certified results if the recount or

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         sampling analysis shows a sufficient number of ineligible absentee

         ballots were counted;

      9. An emergency declaratory judgment that voting machines be seized and

         impounded immediately for a forensic audit by plaintiffs’ experts;

      10. A declaratory judgment declaring absentee ballot fraud occurred in

         violation of Constitutional rights and election laws under state law;

      11. A permanent injunction prohibiting the Governor and Secretary of State

         from transmitting the currently certified results to the Electoral College

         based on the overwhelming evidence of election tampering; and

      12. Immediate production of 36 hours of security camera recording of all

         rooms used in the voting process at State Farm Arena in Fulton County,

         GA from 12:00 AM November 3, 2020 to 12:00 PM on November 4,

         2020.

      Plaintiffs also contend that on November 27, 2020, Union County officials

advised that they are going to wipe or reset the voting machines of all data and

bring the count back to zero on Monday, November 30, 2020 for purposes of a

machine recount commencing that day. Plaintiffs contend this act and any like it

must be immediately enjoined across the state of Georgia pursuant to 52 U.S.C. §

20701 (preservation of voting records) because resetting the machines would

destroy the evidence on them and make impossible any forensic computer audit of

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the election computer systems for the 2020 General Election. Plaintiffs therefore

ask for an injunction to prevent any wiping of data, and to ensure forensic analysis

can take place.

      Plaintiffs further ask for emergency injunctive to expedite the flow of

discovery material and to preserve the Voting Systems computer data information;

      The Court has reviewed the terms and conditions of this Emergent Injunctive

Relief Order, and for good cause shown IT IS HEREBY ORDERED THAT:

      1. A Temporary Restraining Order is immediately in effect to preserve the

         voting machines in the State of Georgia, and to prevent any wiping of

         data, until such time as a full computer audit is completed.

      2. Governor Kemp, Secretary Raffensperger and the Georgia State Board of

         Elections are to de-certify the election results.

      3. Governor Kemp is hereby enjoined from transmitting the currently

         certified election results to the Electoral College.

      4. Governor Kemp is required to transmit certified election results that state

         that President Donald Trump is the winner of the election.

      5. It is hereby Ordered that no votes received or tabulated by machines that

         were not certified as required by federal and state law be counted.




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6. A declaratory judgment is hereby issued declaring that Georgia Secretary

   of State Rule 183-1-14-0.9-.15 violates the Electors and Elections Clause,

   U.S. Const. art. I, § 4.

7. A declaratory judgment declaring that Georgia’s failed system of

   signature verification violates the Electors and Elections Clause by

   working a de facto abolition of the signature verification requirement is

   hereby issued.

8. A declaratory judgment declaring that current certified election results

   violates the Due Process Clause, U.S. Const. Amend. XIV is hereby

   issued.

9. A declaratory judgment declaring that mail-in and absentee ballot fraud

   must be remedied with a Full Manual Recount or statistically valid

   sampling that properly verifies the signatures on absentee ballot

   envelopes and that invalidates the certified results if the recount or

   sampling analysis shows a sufficient number of ineligible absentee

   ballots were counted Is hereby issued.

10. An emergency declaratory judgment that voting machines in Fulton

   County be seized and impounded immediately for a forensic audit—by

   plaintiffs’ experts is hereby issued.




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      11. A declaratory judgment declaring absentee ballot fraud occurred in

         violation of Constitutional rights, Election laws and under state law Is

         hereby issued.

      12. A permanent injunction prohibiting the Governor and Secretary of State

         from transmitting the currently certified results to the Electoral College

         based on the overwhelming evidence of election tampering.

      13. Immediate production of 36 hours of security camera recording of all

         rooms used in the voting process at State Farm Arena in Fulton County,

         GA from 12:00 AM November 3, 2020 to 12:00 PM on November 4,

         2020 is hereby ordered.

      It is so Ordered, this           day of                     2020.




                                       Timothy C. Batten
                                       U.S. District Court Judge
                                       Northern District of Georgia
                                       Atlanta Division

Presented by:

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*Application for admission pro hac vice
forthcoming
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